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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       24-cr-80070-Rosenberg/Reinhart
                              CASE NO. _  _ _ _ _ _ _ __
                                       21 u.s.c. § 846
                                       21 U.S.C. § 84l(a)(l)
                                       18 U.S.C. § 924(c)
                                       18 U.S.C. § 924(d)(l)
                                       21 u.s.c. § 853
                                                                                                 SP
 UNITED STATES OF AMERICA

 vs.                                                                                 May 30, 2024
 ANWARHAZZI
 and DARREN MICHAEL STIEHLER,                                                                       West Palm Beach


                        Defendants.
 _____________________/
                             INDICTMENT

 The Grand Jury charges that:

                                               COUNTl

        From in or around June 2023 , the exact date being unknown to the Grand Jury, and

 continuing through on or about May 15, 2024, in Palm Beach County, in the Southern District of

 Florida, and elsewhere, the defendants,

                                       ANWARHAZZI
                                            and
                                  DARREN MICHAEL STIEHLER,

 did knowingly and willfully combine, conspire, confederate, and agree with each other, and with

 other persons unknown to the Grand Jury, to distribute, and possess with intent to distribute, a

 controlled substance, in violation of Title 21 , United States Code, Section 841(a)(l), all in violation

 of Title 21, United States Code, Section 846.
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         With respect to the defendants, ANWAR HAZZI and DARREN MICHAEL STIEHLER,

 it is further alleged that the controlled substances involved in the conspiracy attributed to each

 defendant, as a result of that defendant' s own conduct and the conduct of other conspirators

 reasonably foreseeable to that defendant, was 40 grams or more of a mixture and substance

 containing a detectable amount of fentanyl , in violation of Title 21 , United States Code, Section

 841 (b )(1 )(B)(vi).

         With respect to the defendants, ANWAR HAZZI and DARREN MICHAEL STIEHLER,

 it is further alleged that the controlled substances involved in the conspiracy attributed to each

 defendant, as a result of that defendant's own conduct and the conduct of other conspirators

 reasonably foreseeable to that defendant, was 500 grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, in

 violation of Title 21 , United States Code, Section 841(b)(l)(A)(vii).

                                                COUNT2

         On or about January 31 , 2024, in Palm Beach County, in the Southern District of Florida,

 the defendants,

                                       ANWARHAZZI
                                            and
                                  DARREN MICHAEL STIEHLER,

 did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United

 States Code, Section 841 (a)(l) and Title 18, United States Code, Section 2.

         Pursuant to Title 21 , United States Code, Section 841 (b)(1 )(B)(viii), it is further alleged that

 this violation involved 50 grams or more of a mixture and substance containing a detectable amount

 of methamphetamine, its salts, isomers, and salts of its isomers.




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                                               COUNT3

        On or about February 13 , 2024, in Palm Beach County, in the Southern District of Florida,

 the defendants,

                                      ANWARHAZZI
                                           and
                                 DARREN MICHAEL STIEHLER,

 did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United

 States Code, Section 841 (a)(l) and Title 18, United States Code, Section 2.

        Pursuant to Title 21 , United States Code, Section 841 (b)(1 )(B)(viii), it is further alleged that

 this violation involved 50 grams or more of a mixture and substance containing a detectable amount

 of methamphetamine, its salts, isomers, and salts of its isomers.

                                               COUNT4

        On or about March 20, 2024, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                      ANWARHAZZI
                                           and
                                 DARREN MICHAEL STIEHLER,

 did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United

 States Code, Section 841(a)(l) and Title 18, United States Code, Section 2.

        Pursuant to Title 21 , United States Code, Section 841(b)(l)(C), it is further alleged that this

 violation involved a mixture and substance containing a detectable amount of fentanyl.




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                                               COUNTS

        On or about March 22, 2024, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                     ANWARHAZZI
                                          and
                                DARREN MICHAEL STIEHLER,

 did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United

 States Code, Section 841 (a)(l) and Title 18, United States Code, Section 2.

        Pursuant to Title 21 , United States Code, Section 841 (b)(1 )(C), it is further alleged that this

 violation involved a mixture and substance containing a detectable amount of fentanyl.

                                               COUNT6

        On or about April 4, 2024, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                     ANWARHAZZI
                                          and
                                DARREN MICHAEL STIEHLER,

 did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United

 States Code, Section 841(a)(l) and Title 18, United States Code, Section 2.

        Pursuant to Title 21 , United States Code, Section 841 (b)(1 )(C), it is further alleged that this

 violation involved a mixture and substance containing a detectable amount of fentanyl.

                                               COUNT7

        On or about May 1, 2024, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                     ANWARHAZZI
                                          and
                                DARREN MICHAEL STIEHLER,

 did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United
                                                  4
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 States Code, Section 841(a)(l) and Title 18, United States Code, Section 2.

         Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(B)(vi), it is further alleged that

 this violation involved 40 grams or more of a mixture and substance containing a detectable amount

 of fentanyl.

         Pursuant to Title 21, United States Code, Section 841 (b )(1 )(A)(viii), it is further alleged that

 this violation involved 500 grams or more of a mixture and substance containing a detectable

 amount ofmethamphetamine, its salts, isomers, and salts of its isomers.

                                                COUNTS

         On or about May 15, 2024, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                        ANWARHAZZI
                                             and
                                   DARREN MICHAEL STIEHLER,

 did knowingly and intentionally possess with intent to distribute a controlled substance, in violation

 of Title 21 , United States Code, Section 841(a)(l) and Title 18, United States Code, Section 2.

         Pursuant to Title 21 , United States Code, Section 841 (b)(1 )(B)(vi), it is further alleged that

 this violation involved 40 grams or more of a mixture and substance containing a detectable amount

 of fentanyl.

         Pursuant to Title 21, United States Code, Section 841 (b )(1 )(A)(viii), it is further alleged that

 this violation involved 500 grams or more of a mixture and substance containing a detectable

 amount of methamphetamine, its salts, isomers, and salts of its isomers.




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                                                COUNT9

        On or about May 15, 2024, in Palm Beach County, in the Southern District of Florida, the

 defendants,

                                       ANWARHAZZI
                                            and
                                  DARREN MICHAEL STIEHLER,

 did knowingly possess a firearm in furtherance of, and knowingly carry a firearm during and in

 relation to, a drug trafficking crime, a felony offense for which the defendant may be prosecuted in

 a court of the United States, that is, a violation of Title 21 , United States Code, Section 846 and

 841 (a)(l ), as charged in Count 1 and Count 8 ofthis Indictment, in violation of Title 18, United States

 Code, Section 924(c)(l)(A)(i).

        It is fmiher alleged that said firearm was a Glock semi-automatic pistol.

                                               COUNT 10

        On or about May 15, 2024, in Miami-Dade County, in the Southern District of Florida, the

 defendant,

                                  DARREN MICHAEL STIEHLER,

 did knowingly and intentionally possess with the intent to distribute a controlled substance, in

 violation of Title 21 , United States Code, Section 841(a)(l) and Title 18, United States Code,

 Section 2.

        Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(B)(ii), it is further alleged that

 this violation involved 500 grams or more of a mixture and substance containing a detectable

 amount of cocaine.

        Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(B)(viii), it is further alleged that

 this violation involved 50 grams or more of a mixture and substance containing a detectable amount

 of methamphetamine, its salts, isomers, and salts of its isomers.
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                                               COUNT 11

         On or about May 15, 2024, in Miami-Dade County, in the Southern District of Florida, the

 defendant,

                                  DARREN MICHAEL STIEHLER,

 did knowingly and intentionally possess with the intent to distribute a controlled substance, in

 violation of Title 21 , United States Code, Section 841(a)(l) and Title 18, United States Code,

 Section 2.

         Pursuant to Title 21 , United States Code, Section 841 (b)(1 )(B)(ii), it is further alleged that

 this violation involved 500 grams or more of a mixture and substance containing a detectable

 amount of cocaine.

                                               COUNT 12

         On or about May 15, 2024, in Miami-Dade County, in the Southern District of Florida, the

 defendant,

                                  DARREN MICHAEL STIEHLER,

 did knowingly possess a firearm in furtherance of a drug trafficking crime, a felony offense for which

 the defendant may be prosecuted in a court of the United States, that is, a violation of Title 21, United

 States Code, Section 841 (a)(l ), as charged in Count 6 of this Indictment, in violation of Title 18,

 United States Code, Section 924(c)(l)(A)(i).

         It is further alleged that this offense involved a Zastava Arms semi-automatic rifle.

                                   FORFEITURE ALLEGATIONS

         1.     The allegations of this Indictment are hereby re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

 property in which the defendants, ANWAR HAZZI and MICHAEL DARREN STIEHLER, have

 an interest.
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         2.      Upon conviction of a violation of Title 18, United States Code, Section 924( c), or any

 other criminal law of the United States, as alleged in this Indictment, the defendants shall forfeit to

 the United States any firearm and ammunition involved in or used in the commission of such offense,

 pursuant to Title 18, United States Code, Section 924( d)(l ).

         3.     Upon conviction of a violation of Title 21 , United States Code, Sections 846 and/or

 841, as alleged in this Indictment, the defendants shall forfeit to the United States any property

 constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of such offense,

 and any property used, or intended to be used, in any manner or part, to commit, or to facilitate the

 commission of, such offense, pursuant to Title 21, United States Code, Section 853.

        All pursuant to Title 18, United States Code, Section 924(d)(l) and Title 21, United States

 Code, Section 853 , and the procedures set forth at Title 21, United States Code, Section 853 , as

 incorporated by Title 28, United States Code, Section 2461 (c).




  BRIAN RALSTON
  ASSISTANT UNITED STATES ATTORNEY




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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                        CASE NO.:
                                                                               24-cr-80070-Rosenberg/Reinhart
                                                                              ---------------
v.
ANWAR HAZZI,                                                    CERTIFICATE OF TRIAL ATTORNEY
and
DARREN MICHAEL STIEHLER,                           /
- - -- -- - - - - - - - - - - -
               Defendants.                                      Superseding Case Information:
Court Division (select one)                                     New Defendant(s) (Yes or No) _ _
   D Miami        D Key West             □ FTP                  Number of New Defendants
   □ FTL          !El WPB                                       Total number of new counts

I do hereby certify that:
  1.     I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
         witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.     lam aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
         their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

  3.     Interpreter: (Yes or No) ~
         List language and/or dialect:
                                      --------
  4.     This case will take _4_ days for the parties to try.

  5.     Please check appropriate category and type of offense listed below:
         (Check only one)                         (Check on ly one)
         I     IE! 0 to 5 days                D Petty
         II    D 6 to 10 days                 D Minor
         III   D 11 to 20 days                D Misdemeanor
         IV    D 21 to 60 days                 (El Felony
         V     D 61 days and over
  6.     Has this case been previously filed in this District Court? (Yes or No) No
         If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
  7.     Has a complaint been filed in this matter? (Yes or No) Yes
         If yes, Magistrate Case No. 24-8226-BER (Hazzi)
  8.     Does this case relate to a previously filed matter in t!]is District Court? (Yes or No)~
         If yes, Judge___________ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  9.     Defendant(s) in federal custody as of
  10.    Defendant(s) in state custody as of
                                                  ----------------------
  11.    Rule 20 from the _ _ _ _ District of _ _ _ _ _ _ _ _ __
  12.    Is this a potential death penalty case? (Yes or No) No
  13.    Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
         prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) ~
  14.    Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
         to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or N o ) ~
  15 .   Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
         during his tenure at the U.S. Attorney' s Office, which concluded on January 22, 2023? ~
  16.    Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
         E lfenbein during her tenure at the U.S. Attorney ' s Office, which concluded on March 5, 2024? ~


                                                            By:
                                                                      BRIAN RALSTON
                                                                      Assistant United States Attorney
                                                                      Court ID No.       A5502727
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: Anwar Hazzi

  Case No: 24-cr-80070-Rosenberg/Reinhart

  Count#: 1
  Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance
  (methamphetamine) (fentanyl)

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii)
  * Max. Term of Imprisonment: Life
  * Mandatory Min. Term of Imprisonment (if applicable): 10 years
  * Max. Supervised Release: 5 years to life
  * Max. Fine: $10,000,000
  * Special Assessment: $100


  Counts #: 2, 3

  Distribution of a Controlled Substance (fentanyl) (methamphetamine) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(viii)
  * Max. Term of Imprisonment: 40 years
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years
  * Max. Supervised Release: 4 years to life
  * Max. Fine: $5,000,000
  * Special Assessment: $100


  Counts #: 4-6

  Distribution of a Controlled Substance (fentanyl) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)
  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable):
  * Max. Supervised Release: 3 years to life
  * Max. Fine: $1,000,000
  * Special Assessment: $100




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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  Count #: 7

  Distribution of a Controlled Substance (fentanyl) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii)
  * Max. Term of Imprisonment: Life
  * Mandatory Min. Term of Imprisonment (if applicable): 10 years
  * Max. Supervised Release: 5 years to life
  * Max. Fine: $10,000,000
  * Special Assessment: $100

  Count #: 8

  Possession with Intent to Distribute of a Controlled Substance (fentanyl) (methamphetamine) __

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(viii)
  * Max. Term of Imprisonment: 40 years
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years
  * Max. Supervised Release: 4 years to life
  * Max. Fine: $5,000,000
  * Special Assessment: $100


  Count #: 9

  Possession of a Firearm in Furtherance of a Drug Trafficking Crime _____________________

  18 U.S.C. § 924(c)
  * Max. Term of Imprisonment: Life (Consecutive)
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years consecutive to any penalty
  imposed as to Counts 8 and 11
  * Max. Supervised Release: 5 years
  * Max. Fine: $250,000
  * Special Assessment: $100




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: Darren Michael Stiehler

  Case No:     24-cr-80070-Rosenberg/Reinhart

  Count #: 1

  Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance
  (methamphetamine) (fentanyl)

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii)
  * Max. Term of Imprisonment: Life
  * Mandatory Min. Term of Imprisonment (if applicable): 10 years
  * Max. Supervised Release: 5 years to life
  * Max. Fine: $10,000,000
  * Special Assessment: $100


  Count #: 2, 3

  Distribution of a Controlled Substance (fentanyl) (methamphetamine) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(viii)
  * Max. Term of Imprisonment: 40 years
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years
  * Max. Supervised Release: 4 years to life
  * Max. Fine: $5,000,000
  * Special Assessment: $100


  Counts #: 4-6

  Distribution of a Controlled Substance (fentanyl) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)
  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable):
  * Max. Supervised Release: 3 years to life
  * Max. Fine: $1,000,000
  * Special Assessment: $100




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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  Count #: 7

  Distribution of a Controlled Substance (fentanyl) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii)
  * Max. Term of Imprisonment: Life
  * Mandatory Min. Term of Imprisonment (if applicable): 10 years
  * Max. Supervised Release: 5 years to life
  * Max. Fine: $10,000,000
  * Special Assessment: $100

  Count #: 8

  Possession with Intent to Distribute of a Controlled Substance (fentanyl) (methamphetamine) __

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(viii)
  * Max. Term of Imprisonment: 40 years
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years
  * Max. Supervised Release: 4 years to life
  * Max. Fine: $5,000,000
  * Special Assessment: $100


  Counts #: 10, 11

  Possession with Intent to Distribute a Controlled Substance (cocaine) _____________________

  21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii)
  * Max. Term of Imprisonment: 40 years
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years
  * Max. Supervised Release: 4 years to life
  * Max. Fine: $5,000,000
  * Special Assessment: $100

  Counts #: 9, 12

  Possession of a Firearm in Furtherance of a Drug Trafficking Crime _____________________

  18 U.S.C. § 924(c)
  * Max. Term of Imprisonment: Life (Consecutive)
  * Mandatory Min. Term of Imprisonment (if applicable): 5 years consecutive to any penalty
  imposed as to Counts 8 and 11
  * Max. Supervised Release: 5 years
  * Max. Fine: $250,000
  * Special Assessment: $100



    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
